 Fill in this information to identify your case and this filing:

 Debtor 1                    Horia Said
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number            18-40252-RLE                                                                                                                         Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.       Where is the property?




 1.1                                                                        What is the property? Check all that apply
        CP Interest in
        4597 Deep Creek Rd
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Fremont                           CA        94555-2063                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $980,000.00                 $980,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              Fee Simple
        Alameda                                                                    Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another         Check    if this is community property
                                                                                                                                 (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Debtor's residence
                                                                            Value per verbal from Appraiser pending interior inspection; full
                                                                            appraisal report pending


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $980,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
               Case: 18-40252                      Doc# 19              Filed: 02/23/18                Entered: 02/23/18 19:00:25                     Page 1 of 26
 Debtor 1         Said, Horia                                                                                  Case number (if known)        18-40252-RLE
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:       Honda                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      CR-V                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:       2016                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                 80000           Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                   At least one of the debtors and another
        Debtor's residence
        eKBB Value; Purch 2016; no                           Check if this is community property                              $15,740.00                    $15,740.00
        cram                                                       (see instructions)



  3.2    Make:       Honda                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Civic 2Dr                                Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2017                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                 34000           Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                  At least one of the debtors and another
        Title 50% in Husband's name;
        50% in son's name. Driven by                         Check if this is community property                                         $0.00                     $0.00
        son; Value $16,000 (body                                   (see instructions)
        damage); loan $21,059

  3.3    Make:       Honda                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Accord                                   Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2016                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                 10000           Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                  At least one of the debtors and another
        Lease; Only Husband lessee;
        Husband drives vehicle                               Check if this is community property                                         $0.00                     $0.00
                                                                   (see instructions)



  3.4    Make:       BMW                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      428i Coupe                               Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2016                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                                 Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                  At least one of the debtors and another
        Lease; Only husband Lessee.
        Driven by daughter                                    Check if this is community property                                        $0.00                     $0.00
                                                                   (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                   $15,740.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
Official Form 106A/B                                                     Schedule A/B: Property                                                                      page 2
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
          Case: 18-40252                    Doc# 19               Filed: 02/23/18           Entered: 02/23/18 19:00:25                        Page 2 of 26
 Debtor 1       Said, Horia                                                                             Case number (if known)     18-40252-RLE
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Furniture                                                                                                            $300.00

                                   Linens, sheets and towels                                                                                            $100.00

                                   Mattress and box spring                                                                                               $50.00

                                   Small kitchen appliances                                                                                             $100.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   Refrigerator                                                                                                         $150.00

                                   TV's, stereos, other electronics                                                                                     $400.00

                                   Washer and dryer                                                                                                     $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes.     Describe.....
                                   CP Interest in 9 mm Handgun- Smith and Wesson                                                                        $400.00


11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   Clothing                                                                                                             $800.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.    Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.    Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.    Give specific information.....

Official Form 106A/B                                                  Schedule A/B: Property                                                                page 3
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
          Case: 18-40252                    Doc# 19               Filed: 02/23/18       Entered: 02/23/18 19:00:25                   Page 3 of 26
 Debtor 1          Said, Horia                                                                                                    Case number (if known)   18-40252-RLE


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                    $2,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                     Cash on hand                            $50.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:

                                                                                                CP int in Wells Fargo Bank
                                              17.1.      Checking Account                       Husband's possession                                                       $600.00



                                              17.2.      Checking Account                       CP Interest in Bank of America                                               $89.00



                                              17.3.      Checking Account                       Chase                                                                      $200.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                  Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                Institution name or individual:


Official Form 106A/B                                                                     Schedule A/B: Property                                                                page 4
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                            Doc# 19                  Filed: 02/23/18                         Entered: 02/23/18 19:00:25           Page 4 of 26
 Debtor 1       Said, Horia                                                                               Case number (if known)    18-40252-RLE
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............         Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.    Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.    Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes.     Describe each claim.........




Official Form 106A/B                                                  Schedule A/B: Property                                                                page 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
          Case: 18-40252                    Doc# 19               Filed: 02/23/18       Entered: 02/23/18 19:00:25                   Page 5 of 26
 Debtor 1         Said, Horia                                                                                                           Case number (if known)   18-40252-RLE

                                                             Cause of action for slander of title relating to case No.
                                                             RG17878237. No present intent to pursue                                                                                $0.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.       Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                     $939.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $980,000.00
 56. Part 2: Total vehicles, line 5                                                                           $15,740.00
 57. Part 3: Total personal and household items, line 15                                                       $2,500.00
 58. Part 4: Total financial assets, line 36                                                                     $939.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $19,179.00              Copy personal property total            $19,179.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $999,179.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 6
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                         Doc# 19                Filed: 02/23/18                      Entered: 02/23/18 19:00:25                            Page 6 of 26
 Fill in this information to identify your case:

 Debtor 1                Horia Said
                         First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)     First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

      CP Interest in                                                                                                             CCCP § 704.730(a)(2)
      4597 Deep Creek Rd
                                                                   $980,000.00                                $100,000.00
      Fremont CA, 94555-2063                                                                100% of fair market value, up to
      County : Alameda                                                                       any applicable statutory limit
      Line from Schedule A/B: 1.1

      Honda                                                                                                                      CCCP § 704.010
      CR-V
                                                                    $15,740.00                                    $1,695.87
      2016                                                                                  100% of fair market value, up to
      80000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Furniture                                                                                                                  CCCP § 704.020
      Line from Schedule A/B: 6.1
                                                                        $300.00                                     $300.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      Linens, sheets and towels                                                                                                  CCCP § 704.020
      Line from Schedule A/B: 6.2
                                                                        $100.00                                     $100.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      Mattress and box spring                                                                                                    CCCP § 704.020
      Line from Schedule A/B: 6.3
                                                                         $50.00                                      $50.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 2
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
              Case: 18-40252                Doc# 19               Filed: 02/23/18            Entered: 02/23/18 19:00:25                   Page 7 of 26
     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Small kitchen appliances                                                                                                CCCP § 704.020
     Line from Schedule A/B: 6.4
                                                                       $100.00                                  $100.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Refrigerator                                                                                                            CCCP § 704.020
     Line from Schedule A/B: 7.1
                                                                       $150.00                                  $150.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     TV's, stereos, other electronics                                                                                        CCCP § 704.020
     Line from Schedule A/B: 7.2
                                                                       $400.00                                  $400.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Washer and dryer                                                                                                        CCCP § 704.020
     Line from Schedule A/B: 7.3
                                                                       $200.00                                  $200.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Clothing                                                                                                                CCCP § 704.020
     Line from Schedule A/B: 11.1
                                                                       $800.00                                  $800.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Cash on hand                                                                                                            CCCP § 706.050
     Line from Schedule A/B: 16.1
                                                                        $50.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Cash on hand                                                                                                            CCCP § 704.080
     Line from Schedule A/B: 16.1
                                                                        $50.00                                   $50.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     CP int in Wells Fargo Bank                                                                                              CCCP § 704.080
     Husband's possession
                                                                       $600.00                                  $600.00
     Line from Schedule A/B: 17.1                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit

     CP Interest in Bank of America                                                                                          CCCP § 704.080
     Line from Schedule A/B: 17.2
                                                                        $89.00                                   $89.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Chase                                                                                                                   CCCP § 704.080
     Line from Schedule A/B: 17.3
                                                                       $200.00                                  $200.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
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          Case: 18-40252                    Doc# 19               Filed: 02/23/18        Entered: 02/23/18 19:00:25                   Page 8 of 26
 Fill in this information to identify your case:

 Debtor 1                   Horia Said
                            First Name                        Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                        Middle Name                      Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     American Infosource LP                     Describe the property that secures the claim:                 unknown                       $0.00                   $0.00
         Creditor's Name
                                                    Loan on 2017 Honda Civic. Only
                                                    husband and son Jawad signed as
                                                    obligor
                                                    As of the date you file, the claim is: Check all that
         5847 San Felipe St # 120                   apply.
         Houston, TX 77057-3000                      Contingent
         Number, Street, City, State & Zip Code      Unliquidated
                                                     Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  Debtor 1 only                                     An agreement you made (such as mortgage or secured
  Debtor 2 only                                         car loan)
  Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another            Judgment lien from a lawsuit
 Check if this claim relates to a                  Other (including a right to offset)     Agreement made by Hus
       community debt

 Date debt was incurred          06/15/2016                  Last 4 digits of account number



 2.2
         Honda Financial
         Services (A)                               Describe the property that secures the claim:               $14,044.13               $15,740.00                     $0.00
         Creditor's Name
                                                    2016 Honda CR-V
                                                    Debtor's residence eKBB Value;
         Correspondence
                                                    Purch 2016; no cram
         PO Box 5025                                As of the date you file, the claim is: Check all that
         San Ramon, CA                              apply.
         94583-0925                                  Contingent
         Number, Street, City, State & Zip Code      Unliquidated
                                                     Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  Debtor 1 only                                     An agreement you made (such as mortgage or secured
  Debtor 2 only                                         car loan)
  Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another            Judgment lien from a lawsuit
  Check if this claim relates to a                  Other (including a right to offset)
       community debt



Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
              Case: 18-40252                      Doc# 19            Filed: 02/23/18             Entered: 02/23/18 19:00:25                    Page 9 of 26
 Debtor 1 Horia Said                                                                                        Case number (if know)          18-40252-RLE
              First Name                  Middle Name                     Last Name


 Date debt was incurred                                     Last 4 digits of account number        6184

 2.3    Mr. Cooper                                 Describe the property that secures the claim:                  $480,072.00                $980,000.00               $0.00
        Creditor's Name
                                                   4597 Deep Creek Rd. Fremont, CA
                                                   94555
        8950 Cypress Waters                        As of the date you file, the claim is: Check all that
        Blvd                                       apply.
        Coppell, TX 75019-4620                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another           Judgment lien from a lawsuit
 Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred         06/06/2012                  Last 4 digits of account number        7971

 2.4    Vrinderpaul S. Mann                        Describe the property that secures the claim:                  $538,000.00                $980,000.00         $38,072.00
        Creditor's Name
                                                   Debtor intends to set aside lien by
        c/o Greenan, Peffer,                       filing an adversary proceeding for
        Sallander & Lally,                         preference
        6111 Bollinger Canyon                      As of the date you file, the claim is: Check all that
        Rd Ste 500                                 apply.

        San Ramon, CA                              Contingent
        94583-5285
        Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         10/2017                     Last 4 digits of account number




 Add the dollar value of your entries in Column A on this page. Write that number here:                               $1,032,116.13
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                              $1,032,116.13

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?    2.4
         Stephen D. Finestone
         456 Montgomery St Fl 20                                                                    Last 4 digits of account number
         San Francisco, CA 94104-1233




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                                 page 2 of 2
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
             Case: 18-40252                      Doc# 19            Filed: 02/23/18 Entered: 02/23/18 19:00:25                                            Page 10 of
                                                                                  26
 Fill in this information to identify your case:

 Debtor 1                   Horia Said
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim         Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Franchise Tax Board                                  Last 4 digits of account number         0333               $6,293.97            $5,829.69                $464.28
              Priority Creditor's Name
                                                                   When was the debt incurred?             2014 and 2016
              PO Box 942867
              Sacramento, CA 94267-0001
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
         Debtor 1 only                                             Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

        At least one of the debtors and another                    Domestic support obligations
        Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com                                                 12345
               Case: 18-40252                  Doc# 19             Filed: 02/23/18 Entered: 02/23/18 19:00:25                                           Page 11 of
                                                                                 26
 Debtor 1 Said, Horia                                                                                       Case number (if know)          18-40252-RLE

 2.2        Internal Revenue Service                              Last 4 digits of account number       0333              $21,680.41             $20,587.02               $1,093.39
            Priority Creditor's Name
                                                                  When was the debt incurred?           2014 and 2016
            PO Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
         Debtor 1 only                                            Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

        At least one of the debtors and another                   Domestic support obligations
        Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes
 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        DSNB Macy's                                              Last 4 digits of account number         5900                                                         $235.00
            Nonpriority Creditor's Name
            Attn: Bankruptcy                                         When was the debt incurred?             09/01/2014
            PO Box 8053
            Mason, OH 45040-8053
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only
                                                                      Contingent
             Debtor 2 only
                                                                      Unliquidated
             Debtor 1 and Debtor 2 only
                                                                      Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
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                                                                                26
 Debtor 1 Said, Horia                                                                                   Case number (if know)            18-40252-RLE

 4.2      DSNB Macy's                                              Last 4 digits of account number       8393                                            $1,723.75
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                         When was the debt incurred?           2014-2017
          PO Box 8053
          Mason, OH 45040-8053
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only
                                                                    Contingent
           Debtor 2 only
                                                                    Unliquidated
           Debtor 1 and Debtor 2 only
                                                                    Disputed
          At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community                   Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify      Only debtor signed as obligor


 4.3      Internal REvenue Service                                 Last 4 digits of account number                                                      $26,000.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2017 estimated
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                            Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                  Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify

 4.4      Khatera Said (A)                                         Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2013
          4597 Deep Creek Rd
          Fremont, CA 94555-2063
          Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                           Contingent
           Debtor 2 only                                           Unliquidated
           Debtor 1 and Debtor 2 only                              Disputed
          At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community               Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          No                                                       Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
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                                                                                26
 Debtor 1 Said, Horia                                                                                   Case number (if know)            18-40252-RLE

 4.5       Rafi Hamid                                              Last 4 digits of account number                                                        $25,000.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2017
           1672 Riverview Ave
           Tracy, CA 95377-8287
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 4.6       UCSB America                                            Last 4 digits of account number                                                            $337.37
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           07/09/2016
           355 S Grand Ave Ste 3299
           Los Angeles, CA 90071-1560
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                          Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community              Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 4.7       USCB America                                            Last 4 digits of account number                                                            $230.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           04/08/2017
           PO Box 74929
           Los Angeles, CA 90004-0929
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                          Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community              Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                   Doc# 19              Filed: 02/23/18 Entered: 02/23/18 19:00:25                                     Page 14 of
                                                                                26
 Debtor 1 Said, Horia                                                                                      Case number (if know)       18-40252-RLE
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Kaiser Pernanente                                           Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 1950 Franklin St                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Oakland, CA 94612-5190
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                  27,974.38
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                  27,974.38

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.      $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.      $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                  $                 103,526.12

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.      $                 103,526.12




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 5
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            Case: 18-40252                    Doc# 19             Filed: 02/23/18 Entered: 02/23/18 19:00:25                                      Page 15 of
                                                                                26
 Fill in this information to identify your case:

 Debtor 1                Horia Said
                         First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name           Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      BMW Financial Services                                                    Lease of 2016 BMW 428i; Debtor did not not lease;
              PO Box 3608                                                               Husband signed
              Dublin, OH 43016-0306

     2.2      Honda Financial Exchange, Inc.                                            Lease of 2016 Honda Accord, Debtor did not sign lease.
              PO Box 70252                                                              Husband signed
              Philadelphia, PA 19176-0252

     2.3      MetroPCS Wireless, Inc.                                                   Mobile phone service
              PO Box 601119
              Carol Stream, IL 60197




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
               Case: 18-40252                 Doc# 19              Filed: 02/23/18 Entered: 02/23/18 19:00:25                         Page 16 of
                                                                                 26
 Fill in this information to identify your case:

 Debtor 1                   Horia Said
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
      Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                Yes.

                       In which community state or territory did you live?           -NONE-           . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Asmatullah Said                                                                       Schedule D, line          2.1
                4597 Deep Creek Rd                                                                     Schedule E/F, line
                Fremont, CA 94555-2063
                                                                                                       Schedule G
                                                                                                      American Infosource LP



    3.2         Asmatullah Said                                                                        Schedule D, line
                4597 Deep Creek Rd                                                                    Schedule E/F, line          4.1
                Fremont, CA 94555-2063                                                                 Schedule G
                                                                                                      DSNB Macy's




Official Form 106H                                                               Schedule H: Your Codebtors                                         Page 1 of 3
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               Case: 18-40252                     Doc# 19             Filed: 02/23/18 Entered: 02/23/18 19:00:25                     Page 17 of
                                                                                    26
 Debtor 1 Said, Horia                                                                      Case number (if known)   18-40252-RLE


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.3      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.2
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                DSNB Macy's



    3.4      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       2.1
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Franchise Tax Board



    3.5      Asmatullah Said                                                                    Schedule D, line        2.2
             4597 Deep Creek Rd                                                                  Schedule E/F, line
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Honda Financial Services (A)



    3.6      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       2.2
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Internal Revenue Service



    3.7      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.4
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Khatera Said (A)



    3.8      Asmatullah Said                                                                    Schedule D, line        2.3
             4597 Deep Creek Rd                                                                  Schedule E/F, line
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Mr. Cooper



    3.9      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.6
             Fremont, CA 94555-2063                                                              Schedule G
                                                                                                UCSB America




Official Form 106H                                                          Schedule H: Your Codebtors                                Page 2 of 3
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                   Doc# 19              Filed: 02/23/18 Entered: 02/23/18 19:00:25               Page 18 of
                                                                                26
 Debtor 1 Said, Horia                                                                      Case number (if known)   18-40252-RLE


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.10     Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.7
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                USCB America




Official Form 106H                                                          Schedule H: Your Codebtors                                Page 3 of 3
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                   Doc# 19              Filed: 02/23/18 Entered: 02/23/18 19:00:25               Page 19 of
                                                                                26
Fill in this information to identify your case:

Debtor 1                      Horia Said

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF CALIFORNIA,
                                              OAKLAND DIVISION

Case number               18-40252-RLE                                                                     Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                                 Not employed
       employers.
                                             Occupation                                                           Saleperson
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                      Edgren Motor Company, Inc

       Occupation may include student or Employer's address
                                                                                                                  5780 Cushing Pkwy
       homemaker, if it applies.
                                                                                                                  Fremont, CA 94538-3290

                                             How long employed there?                                                      5 years and 2 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00       $         14,729.21

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00              $   14,729.21




            Case:
Official Form 106I        18-40252          Doc# 19       Filed: 02/23/18
                                                                     Schedule I:Entered:
                                                                                 Your Income02/23/18 19:00:25                          Page 20 of     page 1
                                                                        26
Debtor 1   Said, Horia                                                                             Case number (if known)    18-40252-RLE


                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                               non-filing spouse
     Copy line 4 here                                                                       4.         $              0.00     $        14,729.21

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $       2,466.11
     5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $           0.00
     5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $           0.00
     5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $           0.00
     5e.    Insurance                                                                       5e.        $              0.00     $       1,096.14
     5f.    Domestic support obligations                                                    5f.        $              0.00     $           0.00
     5g.    Union dues                                                                      5g.        $              0.00     $           0.00
     5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $           0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.     $                  0.00     $       3,562.25
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.     $                  0.00     $      11,166.96
8.   List all other income regularly received:
     8a.    Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                             8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                             8b.        $              0.00     $               0.00
     8c.    Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                            8c.        $      1,500.00         $               0.00
     8d. Unemployment compensation                                                          8d.        $          0.00         $               0.00
     8e.    Social Security                                                                 8e.        $          0.00         $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                        8f.  $                0.00   $                     0.00
     8g. Pension or retirement income                                                       8g. $                 0.00   $                     0.00
     8h. Other monthly income. Specify: Daughter's auto pmt                                 8h.+ $              565.39 + $                     0.00
            Son's auto pmt. reimb                                                                $              429.78   $                     0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                               9.     $          2,495.17         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                        10. $            2,495.17 + $        11,166.96 = $       13,662.13
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.     +$            0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $      13,662.13
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




            Case:
Official Form 106I   18-40252         Doc# 19          Filed: 02/23/18
                                                                  Schedule I:Entered:
                                                                              Your Income02/23/18 19:00:25                         Page 21 of          page 2
                                                                     26
Fill in this information to identify your case:

Debtor 1                Horia Said                                                                           Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF CALIFORNIA,                                           MM / DD / YYYY
                                          OAKLAND DIVISION

Case number           18-40252-RLE
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            son                                  29              Yes
                                                                                                                                         No
                                                                                   son                                  32              Yes
                                                                                                                                         No
                                                                                   son                                  29              Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           3,757.97

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                          200.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
           Case: 18-40252                 Doc# 19         Filed: 02/23/18 Entered: 02/23/18 19:00:25                                  Page 22 of
                                                                        26
Debtor 1     Said, Horia                                                                               Case number (if known)       18-40252-RLE

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              235.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               124.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              355.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              300.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
10.   Personal care products and services                                                      10. $                                                55.00
11.   Medical and dental expenses                                                              11. $                                                70.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               150.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               142.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               565.36
      17b. Car payments for Vehicle 2                                                         17b. $                                               429.78
      17c. Other. Specify: Honda CRV pmt                                                      17c. $                                               339.00
      17d. Other. Specify: Accord pmt                                                         17d. $                                               361.42
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       7,284.53
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       7,284.53
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                             13,662.13
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                             7,284.53

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               6,377.60

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
      Yes.               Explain here: BMW Lease expire May 2019; Civic Pmt. expires on Dec. 2022




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
        Case: 18-40252                  Doc# 19           Filed: 02/23/18 Entered: 02/23/18 19:00:25                                       Page 23 of
                                                                        26
Fill in this information to identify your case:

Debtor 1                    Horia Said
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:     NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

Case number              18-40252-RLE
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Horia Said                                                    X
             Horia Said                                                        Signature of Debtor 2
             Signature of Debtor 1

             Date       February 13, 2018                                      Date




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                                                                     26
 Fill in this information to identify your case:

 Debtor 1                   Horia Said
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             980,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              19,179.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             999,179.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $          1,032,116.13

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $              27,974.38

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             103,526.12


                                                                                                                                     Your total liabilities $                1,163,616.63


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $              13,662.13

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                7,284.53

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
               Case: 18-40252                      Doc# 19              Filed: 02/23/18 Entered: 02/23/18 19:00:25                                                   Page 25 of
                                                                                      26
 Debtor 1     Said, Horia                                                                    Case number (if known) 18-40252-RLE

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $          12,715.01


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            27,974.38

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             27,974.38




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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            Case: 18-40252                   Doc# 19              Filed: 02/23/18 Entered: 02/23/18 19:00:25                           Page 26 of
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